Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 1 of 18




         EXHIBIT 145
                             Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 2 of 18   PRELIMINARY DRAFT   7




Admissions Part ll
Subtitle




February 14, 2012




Office of Institutional Research                                                                   HAP V00065741
      Highly Confidential - Attorney's Eyes Only
Summary                     Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 3 of 18   PRELIMINARY DRAFT   2




    • Athletes and Legacies explain the difference in raw admit rates for Asian and
      White applicants.

    • Asian applicants have higher average ratings and test scores (excluding the
      personal rating).

    • Differences exist in the raw admit rates of Asian and White students with
     similar test scores and academic indices. Even top scores and ratings don't
     guarantee admission.

    • Personal rating is important in models of the admissions process and drive
     some of the demographic differences we see.




                                                                                                  HARV00065742
      Highly Confidential - Attorneys Eyes Only
                                                                                                                                                                     PRELIMINARY DRAFT           3
                                        Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 4 of 18




                                                                     Admit Rates by Ethnicity, Classes of2007-2016
             18% -

             16% _
                               0111*    •
                                         •
                                          •
             14% -                         •
                                            •
             12% -

                                                                                               Nb                    '' 't =-,‘                                                Asian
             10% -                          e-=-   `----' Illi•' '         • .1.• ...
                                       c,
                                        s                                                                   ,             /     '-\
                                                                     ▪ I                ...4•0014%.. %
                                                                                                                                                                     4M•1   - African American
                                                                            I                       ft NA
                                                                                                % ft.                                           NI
              8% _                                                                                                              11111b
                                                                                                            Min                          Oft,                                  International

                                                                                                                                                                            — Hispanic
              6% -
                                                                                                                                                                     - — Native American
                                                                                                                                                                            — Unknown
              4% -
                                                                                                                                                                               W hite

              2%


              0%
                        2007            2008                     2009       2010           2011          2012     2013        2014                   2015    2016

Admit Rate -White      7.60%           9.39%                    7.72%       7.71%         8.56%          7.72%    6.57%       6.36%                  5.45%   6.02%

Admit Rate -Asian     11.69%           12.13%                  11.27%      11.58%         10.94%         9.93%    9.11%       8.76%                  7.58%   7.50%

Difference             4.09%            2.74%                   3.55%       3.88%          2.38%         2.21%    2.54%       2.40%                  2.14%   1.48%




                                                                                                                                                                      HARV00065743
               Highly Confidential - Attorney's Eyes Only
                                                                                                                                                                               PRELIMINARY DRAFT       4
                                        Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 5 of 18




                                        Non-Legacy, Non-Athlete Admit Rates by Ethnicity, Classes of2007-2016
             16% -
                                     4•11.   .1/
                                               1
                                               4


             14% _



             12% -

                                     400
                                             el%
                                                               •
                               400                              •
             10% -                                 •                      41M1    IMO   1    1

                                                                                                                     MM.   IMM
                                                   •    r44.
                                                                    we.
                                                                                                  Si
                                                                                                               *ma
                                                                                                                                                       •                             Asian
                                                                                                 • %                                                                           - — African American
              8%                                                                                                                                 44.
                                                                                                                                                   4
                                                                                                                           ▪ 444         40. •          4146                         I nternational
                                                                                                   .
                                                                                                   •••   one
                                                                                 410.
                                                                      •
                                                                      •••
              6%
                                                                                                                                                        \awn
                                                                                                                                                                               - — Hispanic
                                                                                                                                 .411P


                                                                                                                                                                                   — Native American
              4%                                                                                                                                                                   — Unknown

                                                                                                                                                                                     W hite
              2%


              0%
                        2007               2008        2009     2010                        2011           2012              2013                2014          2015   2016

Admit Rate -White      7.21%            8.90%          7.34%    7.34%                   8.09%             7.21%              6.00%           5.96%         4.93%      5.34%

Admit Rate -Asian      8.75%            8.79%          8.30%    8.26%                   7.46%             7.17%              6.46%           6.25%         5.32%      5.09%

Difference             1.54%           -0.12%          0.96%    0.93%                   -0.64%            -0.04%             0.46%           0.29%         0.38%      -0.25%




                                                                                                                                                                                HARV00065744
               Highly Confidential - Attorney's Eyes Only
                                 Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 6 of 18                        PRELIMINARY DRAFT   7

                                              Difference in Average Test Scores and Ratingsfor White and Asian Applicants


                            SAT ll Average


                              SATAverage


                          Alumni Rating 2


                          Alumni Rating 1                            I
                          Guidance Rating                            I
                         Teacher Rating 2                            I
                         Teacher Rating 1


                           Personal Rating


                     Extracurricular Rating


                          Academic Rating


                                              -0.2       -0.1         o           0.1         0.2           0.3      0.4


                                                     White Higher            Asian Higher


Notes:
• Excludes legacies and athletes.
• OIR doesn't have all ratings for all years, so number of applicants differs for each rating/test score.                   HARV00065745
• Differences Vrikc'srenig-dliceMSR Only
                                                 Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 7 of 18                                                                         PRELIMINARY DRAFT                      7

                             Admit Rates by Academic Indexfor White and Asian Applicants, Classes of2007-2016
    6,000 -                                                                                                                                                                                  - 60%




     5,000                                  White N                                                                                                                                   I      - 50%
                                                                                                                                                            White Admit Rate /
                                                                                                                                                                            /
                                                                                                                                                                           / i
    4,000 —                                                                                                                                                             • _/                 - 40%


                                                                                                                                                                                                                         asian(N)
                                                                                                                                                                  •
     3,000 —                                                                                                                                                                                 - 30%                       white(N)
                                                                                                                                                            I          /                             .1   1.   .1   1.
                                                                                                                                                                                                                         white
                                                                                                                                                           I      .. -.
                                                                                                                                                                 •                                             — asian
                                                 Asian N                                                                                                        / Asian Admit Rate
     2,000 —                                                                                                                                               /                                  20%
                                                                                                                                ••
                                                                                                                           00
                                                                                                                       •
                                                                                                                       •                          ••
                                                                                                                 •
                                                                                                                 ••                          do
                                                                                                           4.0                          ••
                                                                                                      ••                           ••
     1,000                                                                                      ••               =Mr   awn iiir"                                                              10%
                                                                                      at
                                                                                       ,
                                                                                         ••                00
                                                                    IMP   =ID   ,
                                                                                es
                                                                                                osa
                                                                                                      •
                                                                                                      •
                                                             IP                           0.•
                                                      •••                             •
                                                                                      •
                                                 60                             ma.
                                   INID    •••        moms                6/.
                             MO    ,                         ammo
                010    OM                        a
                                                 /
                             .N.   .....   r
                                           •
                ....   co/
                             .


        0                                                                                                                                                                                     0%
               0.02     0.12          0.22        0.32         0.42         0.52       0.62      0.72        0.82        0.92       1.02          1.12   1.22    1.32   1.42   1.52   1.62

                                                                          Standardized Academic Index (0 = Average Academic Index)


Notes:
• Excludes legacies and athletes.
• Academic Index doesn't account for everything in admissions process. Even top rated students barely have a 50% adrrlitRV00065746
             Highly Confidential - Attorneys Eyes Only
  rate.
                                      Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 8 of 18                                      PRELIMINARY DRAFT          7

                           Admit Rates by Average SAT!for White and Asian Applicants, Classes of2007-2016
    10,000 -                                                                                                                                   _ 35%


     9,000                                                                                                                                I



                                                                                                                                               - 30%
     8,000

                                                                                                                                               - 25%
                                                                                                                                     I i
     7,000

                                                                                                                                        I
     6,000 —                                                                                                                           1       - 20%   —asian(N)
                                                                                                                                      I
     5,000                                                                                                                                                     white(N)
                                                                                                                                     I
                                                                                                                                                       — — white
                                                                                                                                               - 15%
     4,000                                                                                                                                             — — asian

     3,000 —                                                                                                                                    10%

     2,000
                                                                                                                                               - 5%
      1,000                                                                     ,
                                                                                40          or'
                                                                                      ma*
                                                                          OUP
                                                                          MM.

                                                      = ...
                             mlEi,
         0      is   MP                                                                                                                         0%
               60    61     62       63   64     65        66   67   68   69     70   71          72   73   74   75   76   77   78   79   80




Notes:
• Excludes legacies and athletes.
• Spikiness in distribution due to rounding averages to integers.                                                                               HARV00065747
               Highly Confidential - Attorneys Eyes Only
Model                         Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 9 of 18               PRELIMINARY DRAFT   73



                                                            Odds Ratiosfor Main Effect Logistic Model
                                            -
                   High Personal Rating
                       African American
                                  Legacy
                        Native American
            High Extracurricular Rating
                         Early Applicant
                  High Academic Rating
                                 Hispanic
                      z-Academic Index
                        First Generation
                           Class of 2008
                           Class of 2012
                           Class of 2014
                           Class of 2013
                           Class of 2011
                           Class of 2010
                           Class of 2009
                           Class of 2015
                          Average SAT II
                           Average SAT I
                               Unknown
                            International
                                  Female
                           Class of 2016
                                    Asian
                                   Other

                                            0       1   2       3       4       5       6       7       8   9       10



                                                                                                                HARV00065748
        Highly Confidential - Attorneys Eyes Only
Model                         Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 10 of 18                 PRELIMINARY DRAFT



                                                            Logit Coefficientsfor Main Effect Logistic Model

                    High Personal Rating
                        African American
                                    Legacy
                         Native American
             High Extracurricular Rating
                          Early Applicant
                   High Academic Rating
                                  Hispanic
                       z-Academic Index
                         First Generation
                            Class of 2008
                            Class of 2012
                            Class of 2014
                            Class of 2013
                            Class of 2011
                            Class of 2010
                            Class of 2009
                            Class of 2015
                           Average SAT II
                            Average SAT I
                                 Unknown
                             International
                                   Female
                            Class of 2016
                                     Asian
                                     Other

                                             -1      -0.5      0           0.5         1          1.5          2       2.5



                                                                                                                   HARV00065749
        Highly Confidential - Attorney's Eyes Only
Methods                      Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 11 of 18                                               7
   Goal: Using various admissions ratings, how well can we approximate admit rates by race/ethnicity and the demographic
   composition of the admitted students pool?

   Strategy:
   • Fit a series of basic logistic regression models.

   •   Generate fitted probabilities of admissions - given an applicant's characteristics how likely are they to be admitted (0-
       1)?

   •   For each class, select the 2100 applicants with the highest probability of admissions as our simulated admitted class.

   •   Examine resulting demographics and admit rates by ethnicity.

   Notes:
   • Students with no academic index are excluded from this analysis. N =,admit rate =




            Model 1: Academic only               Model 2: Add legacy and    Model 3: Add personal and   Model 4: Add demographics
                                                         athlete                  extracurricular
         Academic Index                        Academic Index              Academic Index               Academic Index
         Academic Rating                       Academic Rating             Academic Rating              Academic Rating
                                               legacy                      legacy                       legacy
                                               athlete                     athlete                      athlete
                                                                           Personal Rating              Personal Rating
                                                                           Extracurricular Rating       Extracurricular Rating
                                                                                                        Gender
                                                                                                        Ethnicity




                                                                                                                                 HARV00065750
        Highly Confidential - Attorneys Eyes Only
                   Student
Projected AdmittedCase        Pools
                       1:14-cv-14176-ADB                                  Document 421-145 Filed 06/15/18 Page 12 of 18
                                                                                                                               PRELIMINARY DRAFT   11




   100% -         =NM
                   7%                               6%
                                                                             7%
    90%
                                                                                                     8%               9%
    80% -
                                                                                                                     10%
    70% -
                                                                                                                                Native American
    60% -
                                                                                                                              •Hispanic
    50% -                                                                                                                       International

                                                                                                                              •African American
    40%
                                                                                                                              •Unknown
    30%
                                                                                                                              •Asian
                                                                             51%
                                                                                                     44%             43%
    20%                                                                                                                       •White

    10%

     0%
                    Model 1                       Model 2                  Model 3                  Model 4          Actual

               Academics rily              Legacy and Athlete         Extracurricular and      Demographics
                                                                           Personal



                              Academics Only               Legacy and Athlete   Extracurricular and Personal   Demographics
                                 Model 1                        Model 2                   Model 3                 Model 4     Actual
    Asian                         43.04%                        31.40%                     25.99%                 17.97%      18.66%
    African American                 0.67%                       1.83%                      2.36%                 11.12%      10.46%
    I nternational                   7.27%                       5.86%                      7.39%                 7.68%       8.90%
    Hispanic                         2.42%                       2.62%                      4.07%                 9.83%       9.46%
    N ative American                 0.21%                       0.32%                      0.41%                 1.21%        1.23%
                                                                                            9.14%                 8.11%       8.09%
    Unknown                          8.02%                      9.93%
                                                                                            50.63%                44.08%      43.mw00065751
    White                            38.37%                     48.03%
            Hiytily CUIl1udIitk1I- Attu,'iuy'b Eyeb Only
Projected Admit Rates
                  Case 1:14-cv-14176-ADB                                 Document 421-145 Filed 06/15/18 Page 13 of 18
                                                                                                                               PRELIMINARY DRAFT    12




    20% --

    18%

     16%

     14%
                                                                                                                             -II-Asian
     12%
                                                                                                                             -MI-African American
     10%                                                                                                                          I nternational

     8%                                                                                                            •
                                                                                                                             -U-Native American
                                                                                                                   •
     6%
                                                                                                                             - -Unknown

     4%

      2%

     0%
                     Model 1                     Model 2                 Model 3              Model 4             Actual

                 Academics Only            Legacy and Athlete      Extracurricular and     Demographics
                                                                        Personal


                                 Academics Only          Legacy and Athlete    Extracurricular and Personal   Demographics
                                    Model 1                   Model 2                    Model 3                 Model 4        Actual
     Asian                           17.35%                   12.66%                     10.48%                  7.24%         7.63%
     African American                0.75%                      2.07%                    2.67%                   12.59%        12.00%
     I nternational                    5.13%                    4.14%                    5.22%                   5.42%         6.37%
     Hispanic                          2.34%                    2.53%                    3.94%                   9.51%         9.27%
     N ative American                  1.97%                    2.98%                    3.81%                   11.17%        11.43%
     Unknown                           9.45%                    11.70%                   10.77%                  9.56%         9.67%
     White                             9.43%                    11.81%                   12.45%                  10.84%        itriwyw065752
             Highly Confidential - Attorneys Eyes Only
Conclusions                 Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 14 of 18   PRELIMINARY DRAFT
                                                                                                                       131




                                                                                                   HAP V00065753
       Highly Confidential - Attorneys Eyes Only
Possible Explanations
                  Case 1:14-cv-14176-ADB            Document 421-145 Filed 06/15/18 Page 15 of 18   PRELIMINARY DRAFT




                                                                                                    HARV00065754
        Highly Confidential - Attorneys Eyes Only
The Personal Rating: Numeric value doesn't capture full picture of applicant
                  Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 16 of 18                                       PRELIMINARY DRAFT   75



  Inputs                                                                                           Outputs
    SAT Scores
                                                      Reader classifies student                       Academic Rating


    GPA
                                                      Calculation performed       -> Academic Index

    Alumni Interview


    Teacher Ratings
                                                      Reader classifies student                      Personal Rating
    Guidance Counselor Ratings


    Application Essay?



                 Academic Index            SAT Scores +GPA       Accounts for 98% of the variation in Academic Index. Academic
                                                                 Index is a weighted average.

                 Academic Rating           SAT Scores +GPA       Accounts for 70% of the variation in Academic Rating. Can't
                                                                 explain some of the variation because Academic Rating data
                                                                 doesn't include the granuality provided by +and -. Also
                                                                 potentially some noise due to readers
                 Personal Rating           School Support +      Accounts for 20% of the variation in Personal Rating. Inputs of
                                           Alumni Interviews     Teacher Evaluations, Guidance Counselor Evaluations, and
                                                                 Alumni Interviews don't fully explain how Personal Ratings are
                                                                 assigned. Don't have any numeric rating of personal statement.
                                                                                                                                   RV00065755
          Highly Confidential - Attorneys Eyes Only
 Dockets: Differences in Admit Rates by Region not Explained by Athletes and
                   Case 1:14-cv-14176-ADB Document 421-145 Filed 06/15/18 Page 17 of 18 IegcAeRAFT                                                                               7.61




                           Admit Rates by Region for White and Asian Non-Athlete, Non-Legacy Applicants,
                                                       Classes of2007-2016
                                                                                                                                                            -yr




                                                                                       1 1                                                                         •Asian

                                                                                                                                                                  •White

                                                                                                                                                                  •Total




                                                                                                                                    Midwest and Southwest
                                                                                       tr)
                              CA and Northwest




                                                            Northeast and Atlantic




                                                                                                         Massachusetts
                                                                                       CO
                                                                                                8
                                                                                                a)
                                                                                       CI)
                                                                                         ▪




     Percent Asian          39%                   28%      25%                        24%      23%      20%               20%      20%
     Total Applicants     42,033                 12,165   31,706                     22,000   21,373   17,161            31,135   15,733




Notes:
• Excludes legacies and athletes.
                                                                                                                                                                  HARV00065756
              Highly Confidential - Attorneys Eyes Only
Other Possibilities Case 1:14-cv-14176-ADB           Document 421-145 Filed 06/15/18 Page 18 of 18   PRELIMINARY DRAFT   17




      •Information lost by not recording plusses and minuses.

      •Yield considered when admitting students?

      • Other factors not used in models:
           •Children faculty/staff
           •Search for socioeconomic diversity
           • High school quality/opportunities open to student
           • Dockets




                                                                                                     HARV00065757
         Highly Confidential - Attorneys Eyes Only
